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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA *
*
VS. * CASE NO. 16-CR-229-BAH
*
RUBEN OSEGUERA-GONZALEZ *

KKK HK KK

UNOPPOSED MOTI
FOR AN ORDER.
CONTINUING THE
SENTENCING HEARING
AND PROPOSED ORDER

The Defendant is currently scheduled for a Sentencing Hearing on February 7, 2025,
at 9:30 a.m. Given the complexities of the sentencing guidelines and the forfeiture issues,
the defense needs additional time to evaluate and respond to the Government’s filings in
relation to the applicable sentencing guidelines and appropriate forfeiture, and therefore,
the Defendant requests that the Sentencing Hearing be continued from the currently
scheduled date to March 7, 2025, at 9:30 a.m., and reset the filing deadlines for sentencing
documents in accordance with the March 7, 2025, date. The Government does not oppose
this motion.

Wherefore, the Defendant respectfully requests the Court issue an Order granting the
request.

Respectfully submitted,
/s Anthony E. Colombo, Jr.

Anthony E. Colombo, Jr.
Counsel for Ruben Oseguera-Gonzalez,

/s Jan E. Ronis
Jan Ronis
Counsel for Ruben Oseguera-Gonzalez

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CERTIFICATE OF
SERVICE

I HEREBY CERTIFY that on this 23rd day of January 2025, a copy of this Notice
and Proposed Order was sent electronically via CM/ECF to all parties of record.

/s Anthony E. Colombo, Jr.
Anthony E. Colombo, Jr.
Counsel for Ruben Osguera-Gonzalez

